            Case
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                                          UNITED STATES DISTRICT COURT
                                                    Eastern District of Virginia
                                                           Alexandria Division

UNITED STATES OF AMERICA
                                   V.                                        Case Number; 1;19-cr-00059-LO

DALEEVERETTE HALE                                                           USMNumber:26069-075
                                                                            Defendant's Attorney: Todd M. Richman, Esquire
                                                                                                     Cadence Mertz, Esquire
Defendant.


                                AMENDED JUDGMENT IN A CRIMINAL CASE
    The defendant pleaded guilty to Count 2 ofthe Superseding Indictment.
    Accordingly, the defendant is adjudicated guilty ofthe following counts involving the indicated offenses.
Title and Section                    Nature of Offense                               Offense Class       Offense Ended        Count

18 n.S.C. § 793(e)                   Retention and Transmission of                   Felony              12/17/2015            2
                                     National Defense Information

   On motion of the Defendant without objection by the Government, the Court has dismissed the remaining counts in the
indictment(Count I, 3, 4, and 5)as to defendant DALE EVERETTE HALE.

   As pronounced on July 27, 2021, the defendant is sentenced as provided in pages 2 through 6 ofthis Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

   Signed this 29th day of July, 2021.




                                                                           Liam O'Gradj
                                                                           United States DTst^ct Judge
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